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 9
                             UNITED STATES DISTRICT COURT
10
                            EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA, )               CASE NO. CRF 05-00350 LJO
13                              )
                                )                  STIPULATION TO CONTINUE;
14
                  Plaintiff,    )                  PROPOSED ORDER
15                              )
            vs.                 )
16   Francisco Mendoza Morales, )
17
                                )
                  Defendant.    )
18
         It is hereby stipulated between the parties that the current court date of May 18, 2007
19   at 9 a.m. be continued to June 22, 2007 at 9 a.m.
20       The reason for the continuance is that defense counsel had applied for funds for a
     psychologist which funds were approved last week. The doctor will need until the
21   requested date to do the evaluation of the defendant.
22
     DATED: May 14, 2007                     /s/      Kevin P. Rooney_____
23                                                  KEVIN P. ROONEY
                                                   Assistant U.S. Attorney
24
     DATED: May 14, 2007                   /s/ Barbara Hope O’Neill____
25
                                            BARBARA HOPE O’NEILL
26                                         Attorney for Francisco Morales

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 2
                                             ORDER
 3
        The Court has received and reviewed the stipulation and the stated reasons therefore.
 4
     It is ordered that the court date for Francisco Mendoza Morales (05-350) be continued
 5

 6
     to June 22, 2007 at 9 a.m.   The Court finds good cause, both for the continuance and
     for the exclusion of time.
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 9   IT IS SO ORDERED.
10
     Dated:     May 14, 2007                         /s/ Lawrence J. O'Neill
11   b9ed48                                      UNITED STATES DISTRICT JUDGE
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